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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                              BROOKLYN OFFICE
 ---------------------------------------------------------X
 Government Employees Insurance Co., et al.,

                                    Plaintiffs,                 ORDER
                  - against -

 M.D. Michael D. Green,

                                    Defendants.
 ----------------------------------------------------------X:
 TOWNES, United States District Judge,

          Plaintiffs Government Employees Insurance Co., Geico Indemnity Co., Geico General

  Insurance Company, and Geico Casualty Co., (collectively, "GEICO"), bring the present action

 seeking damages related to an alleged fraudulent scheme conducted by defendants M.D. Michael

  D. Green, M.D. Clifford Beinart, Vista Medical Diagnostic Imaging, P.C., Total Global Medical,

  P.C., Imaging Associates of Five Boroughs, L.L.C., Five County Imaging Holdings, L.L.C., Asaf

  Yevdayev, Rapuzzi, Palumbo & Rosenberger, P.C. and Patricia Rapuzzi.

          Defendants (1) Yevdayev, (2) Imaging Associates of Five Boroughs, L.L.C., and (3) Five

  County Imaging Holdings, L.L.C., (collectively, "Instant Defendants"), failed to respond and, on

  June 12, 2012, GEICO moved for a default judgment against them. A district court may

  designate a Magistrate Judge to hear and determine certain motions pending before the Court and

  to submit to the Court proposed findings of fact and a recommendation as to the disposition of

 the motion. See 28 U.S.C. § 636(b)(l). On June 21, 2012, this Court referred the motion for a

  default judgment to Magistrate Judge Pollak, who issued a report and recommendation dated

 November 7, 2012. Within fourteen days of service of the recommendation, any party may file

 written objections to the Magistrate Judge's report. See id. Upon de novo review of those

 portions of the record to which objections were made, the district court judge may affmn or
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                  reject the recommendations. See id. The Court is not required to review the factual or legal

                  conclusions of the Magistrate Judge as to those portions of the report and recommendation to

                  which no objections are addressed. See Thomas v. Arn, 474 U.S. 140, 150 (1985). In addition,

                  failure to file timely objections may waive the right to appeal this Court's Order. See 28 U.S.C.

                  § 636(b)(l); Small v. Sec'y of Health & Human Servs., 892 F.2d 15, 16 (2d Cir. 1989).

                         In this case, Magistrate Judge Pollak recommended that GEICO's motion for a default

                  judgment should be granted. No objections were timely filed with this Court. Magistrate Judge

                  Pollak recommended that default judgment in favor of GEICO be entered in the amount of

                  $1,261,697.40 in damages ($420,565.80 in compensatory damages, trebled under RICO, 18

                  U.S.C. § 1964), and $118,584.42 in pre-judgment interest calculated through June 30, 2012,

                  totaling $1,380,281.82. Magistrate Judge Pollak also recommended that GEICO be awarded an

                  additional amount of prejudgment interest, calculated at a non-compounded rate of 9o/o per

                  annum, for the period from June 30, 2012 to the date of judgment. Thus, in addition to

                  $1,380,281.82, GEICO is entitled to $71,553.80 in pre-judgment interest calculated to the date of

                  this order, for a total of$1,451,785.62.

                                                             CONCLUSION

                         Judge Pollak's November 7, 2012 Order is affinned. GEICO's motion for a default

                  judgment against Yevdayev, Imaging Associates of Five Boroughs, L.L.C., and Five County

                  Imaging Holdings, L.L.C. is granted and judgment is entered in the amount of$1,451,785.62.

                  SO ORDERED
                                                                       /s/(SLT)
                                                              (SANDRA L. TOWNES
                                                              · United States District Judge
                  Dated: Brooklyn, New York
                         May 21, 2014



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